         IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE DISTRICT OF KANSAS

In re: Moore Roofing, LLC,
                                                         Case No. 23-21139-11
     Debtor.
_______________________________________________________________
     United States Trustee’s Motion to Dismiss or Convert
_______________________________________________________________

    Under 11 U.S.C. § 1112(b), the United States Trustee moves the

Court to dismiss or convert this chapter 11 case for cause. The Court

faces this issue:

            Cause for dismissal or conversion includes
            substantial loss to or diminution of the estate with
            no reasonable likelihood of rehabilitation, failure to
            file reports, failure to insure against losses, and
            failure to file a plan. Here, the debtor meets all
            those situations. Does cause exist?

    The answer is yes. Moore Roofing has let most, or all, of its

insurance expire, has fallen behind on financial reports, has failed to

file a plan by the deadline—or the proposed extended deadline—and

may be operating at a loss given that it is not paying taxes or insurance

premiums. Cause exists, and dismissal would best serve the interests of

creditors and the estate.




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                                Background

     Moore Roofing is a roofing contractor in the Emporia area that also

owns and rents out three residential properties and three commercial

properties. It filed its bankruptcy petition on September 27, 2023.1 After

it filed an affidavit saying it had no statement of operations or cash flow

statement,2 Moore Roofing supplied to the United States Trustee a

profit-and-loss statement for August showing the company had lost

more than $26,000 that month. Moore Roofing filed a monthly operating

report for October that purported to show a profit of $22,000, but a

review of the bank statements shows that is partially based on $3,600

in transfers between bank accounts and counting a bounced check of

$4,400 as income.3 Moore Roofing hasn’t filed any subsequent operating

reports.

     During the § 341 meeting of creditors, Moore Roofing’s principal

testified that the company was not paying payroll taxes because it could

not afford it.




1 Doc. #1.

2 Doc. #9.

3 Doc. #30.




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    As part of the initial financials, Moore Roofing submitted to the

United States Trustee proof of multiple insurance policies. Based on

those documents from Moore Roofing, the various insurance policies

were set to expire:

     December 10, 2023 for policy on 401 Weaver St.;
     December 15, 2023 for policy on 702 W. 6th;
     December 15, 2023 for worker’s compensation policy;
     December 15, 2023 for policy on 610 Lakeview St.;
     December 15, 2023 for policy on 401 1/2 Weaver St.; and
     December 15, 2023 for commercial general liability policy.

On November 21, 2023, the bank’s counsel contacted counsel for Moore

Roofing about the insurance policy on 812 E. 6th, which had expired on

November 15, 2023. And on December 6, 2023, the bank was notified

that Moore Roofing’s insurance policy on 610 Lakeview St. had been

cancelled early due to non-payment.

    On December 7, 2023, counsel for the United States Trustee sent an

e-mail to counsel for Moore Roofing about the expired and soon-to-

expire insurance, asking for copies of new policies and if any non-

expiring policies had been canceled. After follow-ups, counsel for Moore

Roofing responded on December 18, 2023, to say that he would provide




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any new insurance certificates he received when he received them.

Nothing has been provided to date.

                            Argument and Authorities

I.   Cause exists to dismiss or convert the case.

     Section 1112 of the Bankruptcy Code governs the conversion or

dismissal of a chapter 11 case, and “is intended to preserve estate assets

by preventing the debtor in possession from gambling on the enterprise

at the creditors’ expense when there is no hope of rehabilitation.”4 It

requires a court, upon a finding of cause, to convert a chapter 11 case to

chapter 7 or dismiss the case.5

     The Code lists several grounds for cause,6 but those are illustrative

rather than exhaustive.7 A court may consider other grounds as they

arise and may use its equitable powers to reach an appropriate result. 8

Indeed, while “cause” is not specifically defined anywhere in the




4 Lynch v. Bernard, 590 B.R. 30, 35 (E.D.N.Y. 2018) (citing In re Lizeric Realty

Corp., 188 B.R. 499, 503 (S.D.N.Y. 1995).
5 11 U.S.C. § 1112(b)(1).

6 Id. § 1112(b)(4).

7 In re AdBrite Corp., 290 B.R. 209, 217 (Bankr. S.D.N.Y. 2003).

8 In re Neighbors, No. 11-21003, 2015 Bankr. LEXIS 4308, at *21 (Bankr. D. Kan.

Dec. 21, 2015).


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Bankruptcy Code, courts have interpreted it flexibly to include “any

reason cognizable to the equity power and conscience of the court as

constituting an abuse of the bankruptcy process.”9 Cause exists in this

case for several separate and independent reasons, each of which is

sufficient grounds for dismissal.

     A. Cause exists for lack of insurance.

     As a fiduciary, a chapter 11 debtor must protect and conserve

property in its possession.10 The reason is simple: to avoid deepening

insolvency.11 And under § 1112(b)(4)(C), cause for dismissal or

conversion exists if the debtor fails to maintain insurance appropriate

to cover risks to the estate and to the public.12

     Here, there is risk to the estate as Moore Roofing has let all of its

insurance lapse—at least one policy early due to non-payment. Given

Moore Roofing’s line of work, and the multiple real properties—most

with tenants—that constitute the bulk of its assets, lack of insurance




9 In re Morris, 155 B.R. 422, 426 (Bankr. W.D. Tex. 1993) (citing In re Little Creek

Dev. Co., 779 F.2d 1068, 1072 (5th Cir. 1986).
10 In re Sal Caruso Cheese, Inc., 107 B.R. 808, 817 (Bankr. N.D.N.Y. 1989).

11 5 Norton Bankr. L. & Prac. § 103:9 (3d ed. 2020).

12 7 Collier on Bankr. ¶ 1112.04[6][c] (16th ed. 2020).




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poses a grave risk to the public as well as the estate. These conditions

lay plain the risks to the estate and to the public. Accordingly, cause

exists under § 1112(b)(4)(C).

     B. Cause exists for the debtor’s failure to timely file its plan
        of reorganization.

     Under § 1112(b)(4)(J), cause exists for failure to file or confirm a

plan of reorganization within the time fixed by this title or by order of

the Court.13 A debtor’s inability to accomplish substantive progress

toward confirmation inherently carries the risk of unreasonable and

undue delay, which is nearly always prejudicial to creditors—and

which, by itself, is adequate justification for dismissing a chapter 11

case for cause.14

     Subchapter V was designed to expedite small-business bankruptcy

cases. Debtors must file their plans no later than 90 days after the

petition date.15 And here, the debtor has failed to meet its deadline.



13 11 U.S.C. § 1112(b)(4)(J).

14 De Jounghe v. Mender (In re De Jounghe), 334 B.R. 760, 770–71 (B.A.P. 1st Cir.

2005); Synovus Bank v. Brooks (In re Brooks), 488 B.R. 483, 490 (Bankr. N.D. Ga.
2013) (citing In re Babayoff, 445 B.R. 64, 79 (Bankr. E.D.N.Y. 2011); In re
Tornheim, 181 B.R. 161, 165 (Bankr. S.D.N.Y. 1995); In re Erkins, 351 B.R. 218, 219
(Bankr. M.D. Fla. 2006)).
15 11 U.S.C. § 1189(b).




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Instead, it filed an extension motion at 8:53 pm on December 26, 2023—

the day the plan was due. Although there is no statutory mandate that

a debtor secure an extension before the plan-filing deadline has expired,

the failure to do so may spell the end of the debtor’s reorganization

effort under § 1112(b)(4)(J).16 As the Online King court observed:

         It defies logic for a debtor to delay moving to extend its
         time to file a plan for it runs the risk of facing a motion to
         convert or dismiss its chapter 11 case. And what then,
         what would be the debtor’s defense? Section 1112(b) is
         clear; once “cause” is found to exist, “the court shall”
         convert or dismiss the case, “whichever is in the best
         interest of creditors and the estate.” Why run the risk? It
         doesn’t make sense. The 90-day period in a subchapter V
         case affords a debtor the opportunity to propose a chapter
         11 plan free of any concern that its reorganization efforts
         will be disrupted or thwarted by a competing plan filed by
         a creditor. . . . The better practice is to identify early on
         whether the time limitation will be met and, if it cannot be
         met, move to extend the plan filing date sufficiently in
         advance of the deadline so that a hearing can be held
         before the time has expired.

         That said, the Court realizes that identifying an inability
         to meet the statutory deadline may not be readily apparent
         until the debtor is on the cusp of the deadline. In those
         instances, the debtor should move to extend its time before
         the deadline and request a hearing on shortened notice, or
         alternatively, request entry of a bridge order extending the



16 In re Online King, LLC, 629 B.R. 340, 348 (Bankr. E.D.N.Y. 2021) (denying

motion to extend the 90-day deadline .


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          plan-filing period until the motion can be heard and
          resolved.17

     Here, Moore Roofing did not take any such measures. In addition,

its stated basis for an extension was “conflicting schedules due to the

holidays,” which is not something beyond the debtor’s control. Perhaps

anticipating an objection to their extension request, Moore Roofing has

slow-rolled the matter by setting it to hearing on February 15—more

than a month after its proposed new deadline. By that time, it will

already be a month and a half behind in filing its subchapter V plan.

     In addition, Moore Roofing’s requested extension was to January 5,

2024. That date came and went with no plan and no further extension

request. Moore Roofing’s slipshod treatment of its plan-filing obligations

is not in keeping with either the letter or the spirit of subchapter V. For

Moore Roofing’s failure to timely file its subchapter V plan, the Court

should dismiss the case for cause under § 1112(b)(4)(J).

     C. Cause exists for continuing loss.

     Under § 1112(b)(4)(A), a court must convert or dismiss a case when

there is continuing loss to or diminution of the estate and an absence of



17 Id. (cleaned up).




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a reasonable likelihood of rehabilitation. The two components that

courts test are (1) whether, after the commencement of the case, the

debtor continues to experience a negative cash flow or declining asset

values; and (2) whether there is any reasonable likelihood that the

debtor or some other party will be able to stem the debtor’s losses and

place the enterprise back on a solid financial footing within a

reasonable amount of time.18

    Here, it is difficult to tell the current financial condition of Moore

Roofing due to its lack of reporting. But it is not paying its payroll taxes

or numerous insurance policies and did not file a plan when due. That is

indictive of a company operating in the red.

    Courts in this District have previously granted motions to dismiss

or convert in analogous situations in chapter 11. Dismissal has been

granted when a hotel was operating at a loss with no evidence that it

could be rehabilitated.19 As Judge Somers noted in Bentley, because the

statute uses the word “rehabilitation” rather than “reorganization,” it



18 In re Western States, Inc., No. 17-20041, 2018 Bankr. LEXIS 247, at *13 (Bankr.

D. Wyo. Jan. 30, 2018) (citations omitted).
19 In re Lenexa Hotel, L.P., No. 16-22172, 2018 Bankr. LEXIS 515 (Bankr. D. Kan.

Feb. 26, 2018).


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“has been interpreted to require something more than a liquidating

plan,”20 pointing to a Collier’s section that says “Rehabilitation is not

another word for reorganization. Rehabilitation means to reestablish a

business. Whereas confirmation of a plan could include a liquidation

plan, rehabilitation does not include liquidation.”21

     Cause for dismissal exists under § 1112(b)(4)(A).

     D. Cause exists for failure to file operating reports.

     Under § 1112(b)(4)(F), an unexcused failure to report or file

required information constitutes cause for dismissal or conversion.

Section 704(a)(8)—made applicable in chapter 11 by §§ 1106(a)(1) and

1107(a), and by Bankruptcy Rule 2015(a)(3)—requires a debtor-in-

possession to file periodic financial reports. Operating reports and the

financial disclosures they contain “are the life-blood of the chapter 11

process and are more than mere busy work.... The reporting

requirements provide the primary means for monitoring the debtor’s

compliance with the Code’s requirements, and they serve as a litmus

test for a debtor’s ability to reorganize. Thus, non-compliance is not a


20 In re Bentley, No. 09-23107, 2012 Bankr. LEXIS 5969 *12 (Bankr. D. Kan. Dec.

26, 2012).
21 7 Collier on Bankruptcy P ¶ 1112.04 (16th 2023).




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mere technicality.”22 Without the reports, it is impossible for the Court,

creditors, and other interested parties to monitor the debtor’s

operations to determine whether the debtor has—among other things—

remained current on post-petition obligations, including taxes and

payroll; made improper payments to professionals or pre-petition

creditors; or remained current on its monthly insurance premiums.

     Habitual noncompliance with reporting requirements calls into

question a debtor’s ability to effectively reorganize. As one bankruptcy

court explained: “If a debtor does not fulfill this basic obligation during

the chapter 11 case, when it knows it will have to come before the court

on any number of occasions, how can the creditors have any confidence

that the debtor will timely and accurately report its income and make

the required distributions under its plan, when the court and the UST

are no longer monitoring the case?”23 Consequently, the importance of

filing monthly operating reports “cannot be over-emphasized.”24 Refusal




22 In re Whetten, 473 B.R. 380, 383–84 (Bankr. D. Colo. 2012) (citing Matter of

Berryhill, 127 B.R. 427, 433 (Bankr. N.D. Ind. 1991)).
23 Id. at 384.

24 Id. (citing Myers v. Myers (In re Myers), BAP No. KS-04-054, 2005 Bankr. LEXIS

900, *5 (B.A.P. 10th Cir. May 25, 2005)).


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or inability to provide financial disclosure “sounds the death knell of a

chapter 11 case.”25

    Timely filing operating reports is one of a chapter 11 debtor’s most

important duties—one of the obligations assumed in exchange for the

privilege of continuing to run the debtor’s business and retaining

possession of estate assets. The reports provide all stakeholders with

information they need to gauge the viability of a reorganization. And

belated compliance does not satisfactorily excuse a debtor’s failure to

satisfy its duties in chapter 11. “Filing catch-up reports is akin to

locking the barn doors after the horses have already gotten out.”26

    Here, Moore Roofing filed its October operating report late and has

not filed a report for November, which was due December 21. Moore

Roofing’s financial picture is murky and its failure to file reports is

helping to obscure lack of insurance and possibly other problems. Cause

exists under § 1112(b)(4)(F).



25 In re Tornheim, 181 B.R. 161, 164 (Bankr. S.D.N.Y. 1995).

26 In re Whetten, 473 B.R. at 383 (citing In re Landmark Atl. Hess Farm, LLC, 448

B.R. 707, 716–17 (Bankr. D. Md. 2011)); In re Woodale Props., Ltd. v. American
Chartered Bank, 2017 U.S. Dist. LEXIS 26538 *16 (N.D. Ill. Feb. 24, 2017) (noting
bankruptcy court’s rejection of debtor’s offer to bring reports up to date and
assertion that “a six-month-old monthly operating report is an insult to the
bankruptcy system”).


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II. Dismissal is the appropriate remedy.

     If the Court finds cause exists, then next it must determine

whether the case should be converted to chapter 7 or dismissed,

whatever is in the best interests of creditors and the estate. The Code

does not define “best interests” in this context, but the standard implies

balancing interests in a case-by-case analysis.27 Ultimately, it is a

matter for sound judicial discretion.28

     Dismissal is the most appropriate option here. Moore Roofing

appears to have virtually no unencumbered assets. Conversion would

saddle a chapter 7 trustee with obligations but no assets to fund them.

The Court should find dismissal to be the most suitable choice.

                                      Conclusion

     Chapter 11 is an ill fit for Moore Roofing, which let most, or all, of

its insurance expire, isn’t paying payroll taxes, did not file a timely

plan, and hasn’t kept up with its administrative and reporting

obligations. For these reasons, the Court should dismiss the case.


27 In re Neighbors, No. 11-21003, 2015 Bankr. LEXIS 4308, at *28 (Bankr. D. Kan.

Dec. 21, 2015) (citations omitted).
28 In re Dooley’s Water & Energy Sols., Inc., No. 15-10811, 2016 Bankr. LEXIS 1852,

at *5 (Bankr. D. Kan. April 27, 2016) (citing In re Neighbors, No. 11-21003, 2015
Bankr. LEXIS 4308, at *28.


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                            Respectfully submitted,

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                   CERTIFICATE OF SERVICE

    I certify that on January 8, 2024, a true and correct copy of this
Motion to Dismiss or Convert was electronically filed with the Court
using the CM/ECF system, which sends notification to all parties of
interest participating in this case through the CM/ECF system.

                            By: s/Richard A. Kear




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